                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION



                                        )
Diane Marie WILLIAMS,                   )
      Plaintiff;                        )
                                        )
        v.                              )    No. 4:10-cv-02542
                                        )
United States of America,               )
      Defendant.                        )
                                        )




  PLAINTIFF’S FINDINGS OF FACT AND CONCLUSIONS OF LAW


   The Court having considered the pleadings, testimony and evidence
submitted at trial, finds as follows:


   1.    This civil action was filed pursuant to the Federal Tort Claims Act
         (FTCA), 28 U.S.C. §§ 2671 et seq. against the United States for
         alleged acts or omissions of the Department of Homeland Security
         (DHS), Immigration and Customs Enforcement (ICE) agents.
         Although named, the Public Health Service has been dismissed as a
         party. (See Dkt. 20, Memorandum Opinion and Order, 02/14/2012).
   2.    The evidence proves that Plaintiff was detained in ICE custody in
         Harris County, Texas, on suspicion of being a Honduran citizen.
         That she denied being a Honduran citizen and asserted that she was


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     in fact a United States citizen. That after initially refusing to sign a
     document alleging Honduran citizenship, she eventually did sign due
     to duress and coercion by ICE agents. She was then deported to
     Honduras.       With the assistance of the American Embassy, the
     Plaintiff was issued a United States passport and returned to the
     United States.
3.   The Plaintiff was initially interviewed by ICE Agent Tak Wong at
     the ICE contract detention center on Greens Road, in Houston,
     Texas. At that time Agent Wong accused the Plaintiff of being a
     citizen of Honduras and of not being a citizen of the United States.
     The Plaintiff denied those allegations, claimed to be a United States
     citizen, and refused to sign any statements or declarations otherwise.
     She was threatened with jail time and inevitable deportation if she
     did not sign.
4.   The Plaintiff was then interviewed by ICE Agent Rolando Jimenez.
     At that time Agent Wong accused the Plaintiff of being a citizen of
     Honduras and of not being a citizen of the United States. The
     Plaintiff denied those allegations, claimed to be a United States
     citizen, and refused to sign any statements or declarations otherwise.
     She was threatened with jail time and inevitable deportation if she
     did not sign.
5.   At no time was the Plaintiff advised of her right to counsel or the
     availability of same.
6.   On the night of January 23, 2009, the Plaintiff was woken and taken
     out of her dorm. She was surrounded by ICE Agents, one of whom
     may have been Agent Jimenez. She was told that she would be
     jailed and inevitably deported if she did not sign an order admitting

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      Honduran citizenship, which had been completed before it was
      presented to her.      Out of fear and under duress she signed the
      statement.
7.    The Plaintiff provided the names and contact information of her
      relatives to ICE Agent Rolando Jimenez, so that he could confirm
      her identity. ICE Agent Jimenez refused to investigate her claims.
8.    At no time was the Plaintiff interviewed by the Honduran Consulate
      in person regarding her alleged Honduran nationality.
9.    Prior to her deportation, the Plaintiff met attorney Vinh Ho, who was
      conducting a legal orientation program for detainees, and told him of
      her United States citizenship and of the refusal of ICE agents to take
      her claim seriously.
10. On February 9, 2009, the Plaintiff was physically deported by plane
      to Honduras by Defendants.
11. On March 31, 2009, the Plaintiff returned to the United States by
      means of a U.S. passport issued by the United Embassy in Honduras.
12. On or about June 30, 2009, the Department of Homeland Security
      was served with an administrative tort claim on behalf of the
      Plaintiff.   The Administrative Claim alleged acts occurring on
      January 18, 2009.        On January 25, 2010, DHS denied the
      administrative claim and advised Plaintiff of her right to file suit
      within six months of the date of the denial letter, or by July 25, 2010.
      Plaintiff’s Original Complaint was timely filed on July 17, 2010.


                          CONCLUSIONS OF LAW
1. Under the Federal Tort Claims Act (FTCA), 28 U.S.C. § 1346(b),
     2671 et seq., the United States waives sovereign immunity, “for injury

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   or loss of property, personal injury or death caused by the negligent or
   wrongful act or omission of any employee of the Government while
   acting in the scope of his office or employment. 28 U.S.C. § 1346(b).
   Congress has waived sovereign immunity for claims “arising…out of
   assault, battery, false imprisonment, false arrest” by law enforcement
   officers. 28 U.S.C. § 2680(h). A law enforcement officer is defined
   as, “any officer of the United States who is empowered by law to
   execute searches, to seize evidence, or to make arrests for violations
   of Federal Law. 28 U.S.C. § 2680(h). ICE agents are “law
   enforcement officers” within the meaning of 28 U.S.C. § 2680(h).
   Finally, liability is determined by the law of the place where the tort
   occurred. 28 U.S.C. § 1346(b); Hannah v. United States, 523 F.3d
   597, 601 (5th Cir. 2008). Texas law governs this case.
2. The Complaint alleges that the actions or omissions of the Defendants
   constituted negligence. The evidence shows that no investigation of
   the Plaintiff’s repeated claims to United States citizenship were
   conducted by the Defendants, in spite of being provided names and
   contact information of the Plaintiff’s family members and
   acquaintances. Those actions and omissions were negligent as it is the
   burden of the Defendants to establish the alienage of any suspected
   alien prior to deportation from the United States. Matter of Guevara,
   20 I&N Dec. 238 (BIA 1991).
3. The Plaintiff was falsely imprisoned by Defendants as she was 1)
   willfully detained; 2) without the Plaintiff’s consent; and 3) without
   authority of law. Pete v. Metcalfe, 8 F.3d 214, 218-219 (5th Cir.
   1993)(citing Sears, Roebuck & Co. v. Castillo, 693 S.W. 2d 374, 375
   (Tex.1985); Garza v. United States, 881 F.Supp. 1103, 1107 (S.D.

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          Tex. 1995). The Plaintiff was detained by Defendants on January 18,
          2009, when she was seized and taken to a detention facility operated
          under contract for ICE. From the moment of her first encounter with
          ICE Agent Tak Wong, the Plaintiff asserted her status as a United
          States citizen. Her continuing detention from that moment until her
          deportation to Honduras, including her delayed return to the United
          States on March 31, 2009, constitutes false imprisonment as she was
          effectively restrained and prevented from returning to the United
          States by the actions of the Defendants. Martinez v. Goodyear Tire &
          Rubber Co., 651 S.W.2d 18, 20 (Tex. App.-San Antonio 1983, no
          writ).
      4. The Plaintiff has established that: 1) defendants acted intentionally
          and recklessly by refusing to investigate her claims of United States
          citizenship and, with the full knowledge of that uninvestigated claim;
          and, 2) threatened the Plaintiff with indefinite detention and inevitable
          expulsion from the United States, deprived her of sleep, denied her
          information regarding access to counsel required by federal
          regulation1, and ultimately deported her by force to a country to which
          she had never been; and, 3) by their actions caused the Plaintiff severe
          emotional distress. That agents of the United States government
          would detain a person claiming to be a citizen, refuse to investigate
          her claims to citizenship, threaten her with indefinite detention, and
          ultimately expel her by force from her native land to one in which she
          knew no one nor had any rights to the protection thereof, has
          exceeded “all possible bounds of decency and [may] be regarded as
          atrocious and utterly intolerable in a civilized society.” Garza v.
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    8 CFR 238.1(b)(2)(iv).


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   United States, 881 F.Supp. 1103, 1107 (S.D. Tex 1995)(internal
   citations omitted).
5. The Plaintiff was the subject of an administrative prosecution by
   Defendants, which has been terminated in the Plaintiff’s favor by
   subsequent investigation and her readmission to the United States as a
   United States citizen. See Plaintiff’s Ex. 6. Plaintiff at no time ever
   made any claims to Honduran nationality and maintained from the
   moment of her detention by Defendants that she was a United States
   citizen. See Plaintiff’s Ex. 1, 2 and 3. Defendants have made no
   showing of any evidence to support their accusation that Plaintiff was
   a citizen of Honduras. No Honduran birth certificate or other such
   document establishing Honduran nationality has been proffered by
   Defendants because no such documents exist. Defendants’ agents
   repetition of Plaintiff’s criminal record is evidence of malice and
   ulterior motive in prosecuting the Plaintiff in administrative removal
   proceedings.
6. The Plaintiff was subject to a legal proceeding for which the
   Defendants had no subject matter jurisdiction over her as a citizen of
   the United States. The Defendants frequent repetition of her criminal
   record in their defense of this suit and in their unlawful detention and
   removal of her from the United States is evidence of an ulterior
   motive behind their actions. The Plaintiff has suffered severe damage
   emotionally and psychologically by her unlawful detention and
   expulsion from the United States.
7. Based on the facts and evidence provided, the Court finds the law and
   evidence to be in favor of the Plaintiff and against the Defendant, and



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   grants her complaint with damages assessed according to the
   Administrative Complaint filed by the Plaintiff.


This _________ day of March 2012.




                                         _________________________
                                                Kenneth M. Hoyt
                                         United States District Judge




Respectfully submitted,


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